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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  IN RE VALSARTAN,
  LOSARTAN, AND                                         MDL No. 2875
  IRBESARTAN PRODUCTS
  LIABILITY LITIGATION                          HON. RENÉE MARIE BUMB


  THIS DOCUMENT RELATES TO:
  Roberts v. Zhejiang Huahai
  Pharmaceutical Co. Ltd.,

  Case No. 1:19-md-02875-RMB-SAK


     PLAINTIFFS’ NOTICE OF DAUBERT MOTION TO PRECLUDE
     OPINIONS OF DEFENSE EXPERT ANDREW THOMPSON, PH.D.

 TO: Jessica Davidson
     Kirkland & Ellis LLP
     601 Lexington Avenue
     New York, New York 10022
     Attorneys for Defendants

       PLEASE TAKE NOTICE that Plaintiffs shall move before the Honorable

 Renée Marie Bumb, C.U.S.D.J., at the United States District Court for the District

 of New Jersey, 1 John F. Jerry Plaza, 4th and Cooper Streets, Camden, New Jersey,

 for an Order Precluding the Opinions of Defense Expert Andrew Thompson, Ph.D.

       PLEASE TAKE FURTHER NOTICE that Plaintiffs shall rely upon the

 Brief and Certification of Adam M. Slater in support of the Motion.
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       PLEASE TAKE FURTHER NOTICE that Plaintiffs request oral argument

 pursuant to L. Civ. R. 78.1.

                                MAZIE SLATER KATZ & FREEMAN, LLC
                                Attorneys for Plaintiffs

                                By: /s/ Adam M. Slater

 Dated: May 22, 2025
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                          CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2025, I electronically filed the foregoing

 documents with the Clerk of the Court using CM/ECF system which will send

 notification of such filing to the CM/ECF participants registered to receive service

 in this MDL.

                                 MAZIE SLATER KATZ & FREEMAN, LLC
                                 Attorneys for Plaintiffs

                                 By:    /s/ Adam M. Slater

 Dated: May 22, 2025
